Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 1 of 17




          EXHIBIT A
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                                                                                                                                        INDEX NO. 153094/2020
NYSCEF DOC. NO. Case
                1    1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 RECEIVED
                                                                   Page 2 of NYSCEF:
                                                                             17      05/25/2020



                                                                                                                                                  Index                     No.:
                                                                                                                                                  Date                    Filed:
           SUPREME                   COURT                OF      THE          STATE                OF       NEW          YORK                     Plaintiff                                   designates
           COUNTY               OF       NEW              YORK                                                                             NEW              YORK                  COUNTY                     as       the
           ---------------------------------------X                                                                                               place                      of             trial
           MARITZA                   MARTINEZ-CARABALLO,
                                                                                                                                            The             basis                      of           venue

                                                                             Plaintiff,                                          is         Plaintiff's                                          Residence


                                         -against-

                                                                                                                                                            SUMMONS
                                                                                                                                                  Plaintiff                                    resides                      at
           BJ'S            WHOLESALE                       CLUB,               INC.,                                                              460                 Audubon                          Avenue
                                                                                                                                                  New                 York,                   NY             10040
                                                                             Defendant.
           ---------------------------------------X


           To     the        above-named                       Defendant(s)


                                                             YOU        ARE           HEREBY                 SUMMONED                      to          answer                          the             Complaint
           in       this             action                and          to          serve             a      copy           of             your              answer,                             or,          if         the
           complaint                    is          not          served               with            this               Summons,                      to             serve                  a         Notice               of
           Appearance,                         on         the          Plaintiff's                           attorney(s)                               within                      20               days           after
           the          service                of         this          Summons,                      exclusive                       of         the             day              of          service                      (or
           within               30      days              after              the          service                   is      complete                             if         this                    summons                 is
           not          personally                         delivered                      to        you            within                  the           State                     of            New            York);
           and          in        the          case              of       your              failure                  to      appear                         or            answer,                          judgment
           will            be      taken               against                 you             by        default                 for             the             relief                       demanded                      in
           the        Complaint.


           Dated:                 New         York,              New         York

                                  May         25,          2020


           Defendant'                                                                                                                                                                                              ESQS.
                                         Address:                                                                           FEINSTEIN                                 &     FEINSTEIN,
           BJ'S          Wholesale                     Club,            Inc.                                                 Att                 ne         s         for                        intiff
           28       Liberty                  Street
           New        York,             New           York             10005                                        By:
                                                                                                                                  EARLES                          FEINST                     IN,           ESQ.
           111        Eighth             Avenue                                                                                       61        Broadway,                              suite                2820
           New        York,             New         York              10011                                                       New            York,                    New           York                 10006
                                                                                                                                   (212)                363-3000




                                                                                                    1 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                              INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 3 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ---------------------------------------X
         MARITZA MARTINEZ-CARABALLO,

                                  Plaintiff,
                                                                  VERIFIED COMPLAINT
               -against-

         BJ’S WHOLESALE CLUB, INC.,

                             Defendant.
         ---------------------------------------X



                             Plaintiff, by her attorneys, FEINSTEIN &

         FEINSTEIN, ESQS., as and for her Verified Complaint herein,

         respectfully sets forth and alleges:

                             1.   That    at   all    times   hereinafter    mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. was a domestic corporation

         duly organized and existing under and by virtue of the laws of

         the State of New Jersey.

                             2.   That    at   all    times   hereinafter    mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. was a foreign corporation

         duly authorized to conduct business in the State of New Jersey.

                             3.   That    at   all    times   hereinafter    mentioned,

         defendant    BJ’S    WHOLESALE    CLUB,     INC.   was   a   corporation   doing

         business in the State of New Jersey.

                             4.   That at all times hereinafter mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. was a domestic corporation

         duly organized and existing under and by virtue of the laws of

         the State of New York.

                             5.   That    at   all   times    hereinafter    mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. was a foreign corporation
                                       1




                                               2 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                     INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 4 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         duly authorized to conduct business in the State of New York.

                              6.    That    at    all     times    hereinafter    mentioned,

         defendant    BJ’S     WHOLESALE     CLUB,       INC.    was   a   corporation   doing

         business in the State of New York.

                              7.    That at all times hereinafter mentioned, the

         defendant     BJ’S     WHOLESALE        CLUB,    INC.    owned    certain     premises

         located at 300 Route 17 North, East Rutherford, known as BJ’S, in

         the County of Bergen and State of New Jersey.


                              8.    That    at     all    times    hereinafter       mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. leased said premises located

         at 300 Route 17 North, East Rutherford, known as BJ’S, in the

         County of Bergen and State of New Jersey.

                              9.    That    at     all    times    hereinafter       mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. leased a portion of said

         premises located 300 Route 17 North, East Rutherford, known as

         BJ’S, in the County of Bergen and State of New Jersey for the

         operation of a warehouse club and/or place of business.

                              10.   That    at     all    times    hereinafter       mentioned,

         there existed a written agreement between defendant BJ’S WHOLESALE

         CLUB, INC. and another entity for the operation of a place of

         business upon said premises located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                              11.   That    at     all    times    hereinafter       mentioned,

         defendant BJ’S WHOLESALE CLUB, INC. leased a portion of said

         premises located at 300 Route 17 North, East Rutherford, known as

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                                                  3 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                               INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 5 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         BJ’S, in the County of Bergen and State of New Jersey, for the

         operation of a place of business.


                           12.     That   at    all      times   hereinafter     mentioned,

         defendant     BJ’S      WHOLESALE     CLUB,     INC.    leased   said     premises

         located at 300 Route 17 North, East Rutherford, in the County of

         Bergen and State of New Jersey, for the operation of a warehouse

         club and/or place of business known as BJ’S.


                           13.    That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. operated a certain premises

         and/or place of business located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                           14.    That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. managed a certain premises

         and/or place of business located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                           15.    That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. maintained a certain premises

         and/or place of business located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                           16.    That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. controlled a certain premises

         and/or place of business located at 300 Route 17 North, East

                                                 3




                                               4 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                            INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 6 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                           17.   That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. supervised a certain premises

         and/or place of business located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                           18.   That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. owned a certain parking lot in

         front of, adjacent to and/or abutting said premises and/or place

         of business located at 300 Route 17 North, East Rutherford, known

         as BJ’S, in the County of Bergen and State of New Jersey.

                           19.   That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. owned a certain parking lot in

         front of, adjacent to and/or abutting said premises and/or place

         of business located at 300 Route 17 North, East Rutherford, known

         as BJ’s, in the County of Bergen and State of New Jersey.

                           20.   That at all times hereinafter mentioned, the

         defendant BJ’S WHOLESALE CLUB, INC. leased a certain parking lot

         in front of, adjacent to and/or abutting said premises and/or

         place of business located at 300 Route 17 North, East Rutherford,

         known as BJ’S, in the County of Bergen and State of New Jersey.

                           21.   That at all times hereinafter mentioned,

         the defendant, BJ’S WHOLESALE CLUB, INC., their servants, agents

         and/or employees, operated said parking lot in front of, adjacent

         to and/or abutting said premises and/or place of business located

                                               4




                                             5 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                             INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 7 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         at 300 Route 17 North, East Rutherford, known as BJ’S, in the

         County of Bergen and State of New Jersey.

                           22.   That at all times hereinafter mentioned, the

         defendant,    BJ’S   WHOLESALE    CLUB,    INC.,   their   servants,    agents

         and/or    employees,    maintained     said    parking   lot   in   front   of,

         adjacent to and/or abutting said premises and/or place of business

         located at 300 Route 17 North, East Rutherford, known as BJ’S, in

         the County of Bergen and State of New Jersey.

                           23.   That at all times hereinafter mentioned,

         the defendant, BJ’S WHOLESALE CLUB, INC., their servants, agents

         and/or employees, managed said parking lot in front of, adjacent

         to and/or abutting said premises and/or place of business located

         at 300 Route 17 North, East Rutherford, known as BJ’S, in the

         County of Bergen and State of New Jersey.

                           24.   That at all times hereinafter mentioned,

         the defendant, BJ’S WHOLESALE CLUB, INC., their servants, agents

         and/or employees controlled said parking lot in front of, adjacent

         to and/or abutting said premises and/or place of business located

         at 300 Route 17 North, East Rutherford, known as BJ’S, in the

         County of Bergen and State of New Jersey.

                           25.   That at all times hereinafter mentioned,

         the defendant, BJ’S WHOLESALE CLUB, INC., their servants, agents

         and/or    employees,    supervised     said    parking   lot   in   front   of,

         adjacent to and/or abutting said premises and/or place of business

         located at 300 Route 17 North, East Rutherford, known as BJ’S, in

         the County of Bergen and State of New Jersey.

                                                5




                                              6 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                            INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 8 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




                            26. That at all times hereinafter mentioned,

         it was the duty of the defendant, BJ’S WHOLESALE CLUB, INC., their

         servants, agents and/or employees, to maintain said parking in

         front of, adjacent to and/or abutting said premises and/or place

         of business located at 300 Route 17 North, East Rutherford, known

         as BJ’S, in the County of Bergen and State of New Jersey, in

         reasonably safe and suitable condition and repair.

                           27.   That at all times hereinafter mentioned,

         it was the duty of the defendant, BJ’S WHOLESALE CLUB, INC., their

         servants, agents and/or employees, to ensure that the said parking

         lot in front of, adjacent to and/or abutting said premises and/or

         place of business located at 300 Route 17 North, East Rutherford,

         known as BJ’S, in the County of Bergen and State of New Jersey,

         were reasonably safe and suitable for persons, customers and/or

         patrons to traverse.

                           28.   That at all times hereinafter mentioned,

         it was the duty of the defendant, BJ’S WHOLESALE CLUB, INC., their

         servants, agents and/or employees, to provide for and/or ensure

         the safety, protection and well-being of persons, customers and/or

         patrons lawfully traversing said parking lot in front of, adjacent

         to and/or abutting said premises and/or place of business located

         at 300 Route 17 North, East Rutherford, known as BJ’S, in the

         County of Bergen and State of New Jersey.

                           29.   That at all times hereinafter mentioned, it

         was the duty of the defendant, BJ’S WHOLESALE CLUB, INC., their

         servants, agents and/or employees, to prevent persons, customers

                                               6




                                             7 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                            INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 9 of 17
                                                                     RECEIVED  NYSCEF: 05/25/2020




         and/or patrons lawfully traversing the said parking lot in front

         of, adjacent to and/or abutting said premises and/or place of

         business located at 300 Route 17 North, East Rutherford, known as

         BJ’S, in the County of Bergen and State of New Jersey of New York

         from being injured by dangerous, defective and unsafe conditions

         upon said parking lot.

                           30.   That at all times hereinafter mentioned, it

         was the duty of the defendant, BJ’S WHOLESALE CLUB, INC., their

         servants, agents and/or employees, to make safe, suitable and

         adequate repairs to the said parking lot in front of, adjacent to

         and/or abutting said premises and/or place of business located at

         300 Route 17 North, East Rutherford, known as BJ’S, in the County

         of Bergen and State of New Jersey.


                           31.   That on the 26th day of May, 2018, the

         plaintiff MARTIZA MARTINEZ-CARABALLO, was lawfully present upon

         said parking lot in front of, adjacent to and/or abutting said

         premises and/or place of business located at 300 Route 17 North,

         East Rutherford, known as BJ’S, in the County of Bergen and State

         of New Jersey.


                           32.   That on the 26th day of May, 2018, the

         plaintiff MARTIZA MARTINEZ-CARABALLO, was lawfully traversing said

         parking lot in front of, adjacent to and/or abutting said premises

         and/or place of business located at 300 Route 17 North, East

         Rutherford, known as BJ’S, in the County of Bergen and State of

         New Jersey.

                                               7




                                             8 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                     INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 10 of 17
                                                                     RECEIVED   NYSCEF: 05/25/2020




                              33.    That on the 26th day of May, 2018, the

         plaintiff MARTIZA MARTINEZ-CARABALLO, was caused to be injured

          while lawfully traversing said parking lot in front of, adjacent

          to and/or abutting said premises and/or place of business located

          at 300 Route 17 North, East Rutherford, known as BJ’S, in the

          County of Bergen and State of New Jersey.

                              34. That on the 26th day of May, 2018, the

          plaintiff MARTIZA MARTINEZ-CARABALLO, was caused to be injured

          while lawfully traversing said parking lot, and more particularly

          at the first parking spot in the vicinity of the entrance/exit of

          said   place   of    business     located    at   300   Route   17       North,   East

          Rutherford, known as BJ’S, in the County of Bergen and State of

          New Jersey.

                              35.    That on the 26th day of May, 2018, and for a

          period   of    time       prior   thereto,      there   existed      a    dangerous,

          defective, raised, broken, uneven, unlevel, depressed, hazardous

         and unsafe condition relative to said parking lot in front of,

          adjacent to and/or abutting said premises and/or place of business

          located at 300 Route 17 North, East Rutherford, known as BJ’S, in

          the County of Bergen and State of New Jersey.

                              36.    That on the 26th day of May, 2018, and for a

          period   of    time       prior   thereto,      there   existed      a    dangerous,

          defective, raised, broken, uneven, unlevel, depressed, hazardous

          and unsafe condition upon said parking lot, and more particularly

          at the first parking spot in the vicinity of the entrance/exit of

          said   place   of    business     located    at   300   Route   17       North,   East

                                                  8




                                                9 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                       INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 11 of 17
                                                                     RECEIVED   NYSCEF: 05/25/2020




          Rutherford, known as BJ’S, in the County of Bergen and State of

          New Jersey.

                             37.    That      on   the    26th   day     of    May,   2018,    the

          plaintiff MARTIZA MARTINEZ-CARABALLO, was caused to be injured as

          a result of the said dangerous, defective, raised, broken, uneven,

          unlevel, depressed, hazardous and unsafe condition relative to

          said parking lot in front of, adjacent to and/or abutting said

          premises and/or place of business located at 300 Route 17 North,

          East Rutherford, known as BJ’S, in the County of Bergen and State

         of New Jersey.

                             38.    That on the 26th day of May, 2018, the

         plaintiff MARTIZA MARTINEZ-CARABALLO, was caused to be injured as

         a result of the said dangerous, defective, raised, broken, uneven,

         unlevel, depressed, hazardous and unsafe condition existing upon

         said parking lot, and more particularly at the first parking spot

         in the vicinity of the entrance/exit of said place of business

          located at 300 Route 17 North, East Rutherford, known as BJ’S, in

          the County of Bergen and State of New Jersey.

                             39.    That      by     reason      of     the     foregoing,     the

          plaintiff MARTIZA MARTINEZ-CARABALLO was injured.

                             40.    That the foregoing accident and the resulting

          injuries to the plaintiff MARTIZA MARTINEZ-CARABALLO were caused

          solely   by   reason     of   the    carelessness,          negligence,     wanton   and

          willful disregard on the part of the defendant, and each of them,

          their    agents,    servants        and/or      employees,          and   without    any

          negligence on the part of the plaintiff contributing thereto.

                                                      9




                                                   10 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                    INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 12 of 17
                                                                     RECEIVED   NYSCEF: 05/25/2020




                               41.    That this action falls within one or more of

          the exceptions set forth in CPLR 1602.


                               42.    Pursuant to CPLR Section 1602 (2) (iv),

          defendant is jointly and severally liable for all of plaintiff’s

          damages, including but not limited to plaintiff’s non-economic

          loss, irrespective of the provisions of the CPLR Section 12601, by

          reason   of    the   fact    that    defendant      owed   the    plaintiff     a   non-

          delegable duty of care.

                               43.    Pursuant to CPLR Section 1602 (7),

          defendant is jointly and severally liable for all of plaintiff's

          damages, including but not limited to plaintiff’s non-economic

          loss, irrespective of the provisions of the CPLR Section 12601, by

          reason of the fact that defendant acted with reckless and wanton

          disregard of the safety of others.

                               44.    Pursuant to CPLR Section 1602 (2) (iv),

          defendant is jointly and severally liable for all of plaintiff's

          damages, including but not limited to plaintiff’s non-economic

         loss, irrespective of the provisions of the CPLR Section 12601, by

         reason of the fact that defendant is vicariously liable for the

         negligent acts and omissions of others who caused or contributed

         to the plaintiff’s damages

                               45.    Pursuant to CPLR Section 1602 (11), defendant

         is jointly and severally liable for all of plaintiff’s damages,

         including       but   not    limited        to   plaintiff’s      non-economic       loss,

         irrespective of the provisions of                   the   CPLR Section 12601, by

         reason     of     the       fact     that     defendant     acted      knowingly       or
                                                      10




                                                 11 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                              INDEX NO. 153094/2020
NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 13 of 17
                                                                     RECEIVED   NYSCEF: 05/25/2020




          intentionally, and in concert, to cause the acts or failures which

          are a proximate cause of plaintiff’s injuries.


                            46.    That   by    reason    of   the    foregoing,    this

          plaintiff was severely injured and damaged, rendered sick, sore,

          lame   and   disabled,   sustained     severe   nervous    shock   and   mental

          anguish, great physical pain and emotional upset, some of which

          injuries are permanent in nature and duration, and plaintiff will

          be permanently caused to suffer pain, inconvenience and other

          effects of such injuries; plaintiff incurred and in the future

         will necessarily incur further hospital and/or medical expenses in

         an effort to be cured of said injuries; and plaintiff has suffered

         and in the future will necessarily suffer additional loss of time

         and earnings from employment; and plaintiff will be unable to

          pursue the usual duties with the same degree of efficiency as

          prior to this occurrence, all to plaintiff's great damage.


                            47.    That by reason of the foregoing, this

          plaintiff has been damaged in an amount which exceeds the monetary

          jurisdictional limits of any and all lower Courts which would

          otherwise have jurisdiction herein, in an amount to be determined

          upon the trial of this action.




                                                 11




                                               12 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                                                                                             INDEX NO. 153094/2020
NYSCEF DOC. NO.Case
                1   1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 14 ofNYSCEF:
                                                                  RECEIVED   17     05/25/2020



                                                 WHEREFORE,                 plaintiff                    demands               judgment                against               the


        defendant                 in        an      amount            which              exceeds                the         monetary                 jurisdictional


        limits           of       any       and         all      lower           Courts              which            would            otherwise                 have


        jurisdiction                      herein,              in     an         amount             to       be       determined                   upon          the         trial


        of        this        action,               together             with            the        costs             and       disbursements                           of      this


        action.


        Dated:           New        York,            New       York

                         May        25,          2020




                                                                                         Yours,              etc.,


                                                                                         FEINSTEIN                    &     FEINSTEIN,                  ESQS.




                                                                           By:
                                                                                           HARLES               FEI         STEf        ,    ESQ.,
                                                                                         Attorneys                    for       Plaintiff
                                                                                         MARTINEZ-CARABALLO
                                                                                          61       Broadway,                  Ste.          2820

                                                                                         New        York,             New       York         100026

                                                                                          (212)           363-3000




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                                                                                        13 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                                                                                                                INDEX NO. 153094/2020
NYSCEF DOC. NO.Case
                1   1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 15 ofNYSCEF:
                                                                  RECEIVED   17     05/25/2020




                                                       ATTORNEY'S                            VERIFICATION                           BY        AFFIRMATION




                         I,    CHARLES                    FEINSTEIN,                     ESQ.,         am an attorney                    duly       admitted          to   practice        in   the
           courts       of     New            York      State,      and         say     that:      I am the            attorney          of     record,       or of      counsel        with    the

           attorney(s)             of     record,        for     the     plaintiff(s),             I have           read     the    annexed          COMPLAINT,                        know     the
           contents           thereof           and     the    same        are        true      to my      knowledge,                except        those       matters       therein       which
           are    stated        to be alleged                  on   information                  and      belief,      and         as to those            matters       I believe       them       to
           be true.           My        belief,       as to those              matters          therein       not      stated       upon        knowledge,            is based         upon     the

           following:               Reports,             records,          memoranda,                    facts,       investigations               and      pertinent        data       given      to
           your     affirmant              and        maintained               in a file        in his     office.


                         The        reason             I make           this      affirmation               instead          of     plaintiff        is    because         plaintiff       is   not

           within       the     County               where       your      affirmant             maintains             his    office.


           Dated:            NEW           YORK,              NEW        YORK
                         May            25,     2020




                                                                                                                              CHARLES                 FEINStEIN,                    ESQ.




                                                                                                  14 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                                                                                                                                 INDEX NO. 153094/2020
NYSCEF DOC. NO.Case
                1   1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 16 ofNYSCEF:
                                                                  RECEIVED   17     05/25/2020



           SUPREME              COURT            OF        THE         STATE                  OF        NEW             YORK
           COUNTY            OF       NEW        YORK

           ---------------------------------------X
           MARTIZA              MARTINEZ-CARABALLO,


                                                                    Plaintiff,


                         -against-



           BJ'S         WHOLESALE                  CLUB,               INC.,


                                                                    Defendant.
           ---------------------------------------X




                       ATTORNEY                 CERTIFICATION                                  PURSUANT                      TO               22     NYCRR130-1.1a




                                       Pursuant                   to              22          NYCRR                     130-1.1a,                              the                  undersigned,
           CHARLES                   FEINSTEIN,                         ESQ.,                      an            attorney                                duly                       admitted                                to
           practice                   law        before                 the              Courts                    of          the                 State                       of            New                  York,
           certifies                    that,                upon                  information                                 and                   belief,                               and                    after
           reasonable                       inquiry,                        (1)          the                  contentions                                     contained                             in                the
           annexed                document(s)                          are              not              frivolous                             and              that                   (2)              if            the
           annexed                document(s)                          is          an          initial                      pleading,                                    (i)           the               matter
           was         not        obtained                 through                      illegal                        conduct,                          or         that                if         it               was,
           the         attorney                  or         other                 persons                        responsible                                       for               the           illegal

           conduct              are         not     participating                                        in       the          matter                         or          sharing                            in           any
           fee         earned               therefrom             and                         that               (ii)               if             the              matter                       involves
           potential                   claims               for             personal                          injury                     or        wrongful                             death,                            the

           matter            was        not            obtained                   in          violation                        of             22         NYCRR                      1200.41-a.


           Dated:                      New        York,             New            York

                                       May        25,        2020




                                                                                                                        ARLES                  FEINSTEIN,                               ESQ.




                                                                                              15 of 16
FILED: NEW YORK COUNTY CLERK 05/25/2020 10:23 AM                                                                                                                                             INDEX NO. 153094/2020
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NYSCEF DOC. NO. 1Case 1:21-cv-04107-JGK Document 1-3 Filed 05/07/21 Page 17 of 17                                                                                                              800,222.01510 www.e,legal.com
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           Index No.                                                 Year20


                   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK

                   MARITZA MARTINEZ-CARABALLO,

                                                                          Plaintiff,

                                                  -against-


                   BJ'S WHOLESALE CLUB, INC.,

                                                                          Defendant.



                                                                               SUMMONS AND VERIFIED COMPLAINT




                                                                             FEINSTEIN & FEINSTEIN
                                                          Attorneys for
                                                                                                Plaintiff - MARTINEZ-CARABALLO
                                                                                      61BROADWAY
                                                                                 NEW YORK, NEW YORK 10006
                                                                                       (212) 363-3000


           Pursuant to 22 NYCRR 130-1.1-a, the undersigned, an attorney admitted to practice in the courts of New York State,
           certifies that, upon information and belief and reasonable inquiry, (1) the contentions contained in the annexed
           document are not frivolous and that (2) if the annexed document is an initiating pleading, (i) the matter was not
           obtained through illegal conduct, or that if it was, the attorney or other persons responsible for the illegal conduct are
           not participating in the matter or sharing in any fee earned therefrom and that (ii) if the matter involves potential
           claims for personal injury or wrongful death, the matter was not obtained in violation of 22 NYCRR 1200.41-a.
           Dated: .............................................                   Signature .................................................................................................................................. .

                                                                                  Print Signer's Name ...................................................................................................................

           Service of a copy of the within                                                                                                                                              is hereby admitted.
           Dated:

                                                                                                   Attorney(s) for
           PLEASE TAKE NOTICE
      �
      .�
                  □
             NOTICE OF
                                  that the within is a (certified) true copy of a
                                  entered in the office of the clerk of the within-named Court on                                                                                                                   20
              ENTRY

      u
                  □
             NOTICE OF
                                  that an Order of which the within is a true copy will be presented for settlement to the
                                  Hon.                                           , one of the judges of the within-named Court,
            SETTLEMENT            at
                                  on                                    20          , at                  M.
           Dated:
                                                                                                                                                             FEINSTEIN & FEINSTEIN
                                                                                                                            Attorneys for

                                                                                                                                                                        61BROADWAY
           To:                                                                                                                                                     NEW YORK, NEW YORK 10006
                                                                                                 16 of 16                                                                I? 1 ?, ,,,;,_"1000
